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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

WARD SCOTT JOLLEY,                                 )
         Plaintiff,                                )
                                                   )
       vs.                                         )           1:07-cv-533-RLY-JMS
                                                   )
GC SERVICES LIMITED PARTNERSHIP,                   )
          Defendant.                               )
                                                   )


                                              ORDER

       The parties having reported a settlement, IT IS ORDERED that the initial pretrial

conference scheduled for July 25, 2007 and all deadlines previously established are hereby

vacated, and any pending motion is hereby denied as moot.

       Counsel are directed to proceed to finalize the agreement to resolve these claims, and to

file the appropriate dismissal documents with the Clerk of Court. Failure to do so within thirty

days will result in the administrative closing of this case.



07/23/2007                                                _______________________________

                                                                 Jane Magnus-Stinson
                                                                 United States Magistrate Judge
                                                                 Southern District of Indiana

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